                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 1 of 8




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             MAXIMO STIVEN BERNABEL                   :    MOTION TO VACATE
             PENA,                                    :    28 U.S.C. § 2255
                 Movant,                              :
                                                      :    CRIMINAL INDICTMENT NO.
                   v.                                 :    1:13-CR-0280-WSD-JFK-2
                                                      :
             UNITED STATES OF AMERICA,                :    CIVIL FILE NO.
                 Respondent.                          :    1:16-CV-2975-WSD-JFK

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                   Movant, Maximo Stiven Bernabel Pena, proceeding pro se, seeks via 28 U.S.C.

             § 2255 to challenge his sentence entered in this Court under the above criminal docket

             number. The matter is before the Court for preliminary review of Movant’s § 2255

             motion [240]. Rule 4(b) requires the Court to order summary dismissal of a § 2255

             motion “[i]f it plainly appears from the motion, any attached exhibits, and the record

             of prior proceedings that the moving party is not entitled to relief[.]” Rules Governing

             Section 2255 Proceedings, Rule 4(b).         For the reasons discussed below, it is

             recommended that Movant’s § 2255 motion be dismissed as untimely.1

                   1
                     The opportunity to object to this recommendation provides Movant with a fair
             opportunity to present any matter that requires a different disposition. See Day v.
             McDonough, 547 U.S. 198, 209-10 (2006) (holding “that district courts are permitted,
             but not obliged, to consider, sua sponte, the timeliness of a state prisoner’s habeas
             petition” but noting that “before acting on its own initiative, a court must accord the



AO 72A
(Rev.8/82)
                  Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 2 of 8




             I.     Discussion

                    Movant pleaded guilty to conspiracy to distribute and possess with intent to

             distribute cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A)(ii), a

             crime subject to up to a life term of imprisonment. (Guilty Plea and Plea Agreement

             at 3, ECF No. 195-1). By judgment entered on March 4, 2015, the Court imposed on

             Movant a 121-month term of imprisonment. (J., ECF No. 229). The record shows no

             direct appeal. On August 10, 2016, Movant filed his current § 2255 motion.2 (Mot.

             to Vacate, ECF No. 240). Movant asserts that he is entitled to a role reduction based

             on the recent amendment to U.S.S.G. § 3B1.2 and that the Court has authority to

             sentence him below the statutory minimum.3


             parties fair notice and an opportunity to present their positions”); Vazquez v. Sec’y,
             Fla. Dep’t of Corr., 827 F.3d 964, 965 (11th Cir. July 1, 2016) (clarifying that district
             court abuses its discretion to consider timeliness when the state has “deliberately
             steered” the court away from the question (quoting Wood v. Milyard, _ U.S. _, _, 132
             S. Ct. 1826, 1835 (2012)) (internal quotation marks omitted)).
                    2
                    Generally, a prisoner filing is deemed filed on the day that the prisoner
             delivered it for mailing to prison officials, which, absent evidence to the contrary, is
             presumed to be the date on which he signed it. Day v. Hall, 528 F.3d 1315, 1318 (11th
             Cir. 2008) (citing Houston v. Lack, 487 U.S. 266, 276 (1988), and Washington v.
             United States, 243 F.3d 1299, 1301 (11th Cir. 2001)).
                    3
                    On November 1, 2015, Amendment 794, a clarifying amendment, amended the
             commentary to § 3B1.2 and provided a non-exhaustive list of factors to be considered
             for a minor- or minimal-participant role reduction. See U.S.S.G. 3B1.2, Application

                                                        2



AO 72A
(Rev.8/82)
                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 3 of 8




                    A § 2255 motion is subject to a one-year statute of limitations that runs from the

             latest of,

                    (1) the date on which the judgment of conviction becomes final;

                    (2) the date on which the impediment to making a motion created by
                    governmental action in violation of the Constitution or laws of the United
                    States is removed, if the movant was prevented from making a motion by
                    such governmental action;

                    (3) the date on which the right asserted was initially recognized by the
                    Supreme Court, if that right has been newly recognized by the Supreme
                    Court and made retroactively applicable to cases on collateral review; or

                    (4) the date on which the facts supporting the claim or claims presented
                    could have been discovered through the exercise of due diligence.

             28 U.S.C. § 2255(f). The one-year statute of limitations is subject to equitable tolling

             if the petitioner “shows (1) that he has been pursuing his rights diligently, and (2) that


             Notes 3.(C); United States v. Casas, 632 F. App’x 1003, 1004 (11th Cir. 2015)
             (discussing Amendment 794 as a clarifying amendment); United States v. Trintidia,
             No. CIV-16-944-D, 2016 WL 4468263, at *1 (W.D. Okla. Aug. 24, 2016) (discussing
             Amendment 794).

                    Generally, a request for a sentence reduction based on a guidelines amendment
             should be brought under 18 U.S.C. § 3582(c)(2). See United States v. Armstrong, 347
             F.3d 905, 907 (11th Cir. 2003) (discussing § 3582(c)(2)). The Court does not construe
             this action as being brought under § 3582. Amendment 794 is not listed as a covered
             amendment in U.S.S.G § 1B1.10(d) and, thus, a reduction would be against the
             guidelines policy statement on guidelines-amendment reductions. See United States
             v. Garcia, No. CR-98-2073-FVS, 2016 WL 4521690, at *2 (E.D. Wash. Aug. 29,
             2016).

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AO 72A
(Rev.8/82)
                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 4 of 8




             some extraordinary circumstance stood in his way and prevented timely filing.” San

             Martin v. McNeil, 633 F.3d 1257, 1267 (11th Cir. 2011) (quoting Holland v. Florida,

             560 U.S. 631, 649 (2010)) (internal quotation marks omitted). In addition, under the

             fundamental miscarriage of justice standard, actual innocence provides an exception

             to the limitations period, “but only when the petitioner presents new evidence that

             ‘shows it is more likely than not that no reasonable juror would have convicted the

             petitioner.’” Gore v. Crews, 720 F.3d 811, 817 (11th Cir. 2013) (quoting McQuiggin

             v. Perkins, _ U.S. _, _, 133 S. Ct. 1924, 1933 (2013)); see also Berry v. United States,

             468 F. App’x 924, 925 (11th Cir. 2012) (“[A]ctual innocence of the offense may be

             shown to satisfy the fundamental miscarriage of justice standard.”).

                   Because Movant did not directly appeal, his federal conviction became final on

             March 18, 2015, fourteen days after the March 4 entry of judgment. See Fed. R. App.

             P. 4(b)(1)(A). Under § 2255(f)(1), Movant’s § 2255 motion was due by March 18,

             2016, and his August 10, 2016, motion is untimely by approximately five months.

             Section 2255(f)(2) is inapplicable because Movant alleges no unlawful government

             impediment that prevented him from filing a § 2255 motion earlier. Section 2255(f)(3)

             is unhelpful because Movant presents no right newly recognized by the United States

             Supreme Court.      Section 2255(f)(4) also is inapplicable because a guidelines

                                                        4



AO 72A
(Rev.8/82)
                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 5 of 8




             amendment does not qualify as a supporting fact to a claim for relief. See Madaio v.

             United States, 397 F. App’x 568, 570 (11th Cir. 2010) (“Since Section 2255(f)(4) is

             predicated on the date that ‘facts supporting the claim’ could have been discovered, the

             discovery of a new court legal opinion, as opposed to new factual information affecting

             the claim, does not trigger the limitations period.” (emphasis in original) (quoting §

             2255(f)(4))); Thomas v. United States, No. 2:09-CR-00277-RDP-JE, 2014 WL

             4715861, at *4 (N.D. Ala. Sept. 22, 2014) (“The limitations period of § 2255(f)(4) is

             triggered by the actual or imputed discovery of the important facts underlying a claim,

             not the defendant’s recognition of the legal significance of those facts.”); Seals v.

             United States, No. 08-CV-80, 2009 WL 1108482, at *2 (S.D. Ill. Apr. 24, 2009)

             (stating that a guidelines amendment is not a fact in that “[t]he Amendment is not

             ‘subject to proof or disproof,’ but is rather a substantive legal change” (citation not

             provided)).

                   Further, Movant does not show that he is entitled to equitable tolling. See

             United States v. Snyder, No. 1:99-CR-11, 2008 WL 370663, at *2 (N.D. Ind. Feb. 11,

             2008) (“[The movant] cites no authority, and this court has found none to support the

             proposition that changes or amendments to existing sentencing guidelines constitutes

             an extraordinary circumstance thereby justifying equitable tolling of the AEDPA

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AO 72A
(Rev.8/82)
                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 6 of 8




             statute of limitations.”). Movant also is not helped by the actual innocence exception.

             See Spencer v. United States, 773 F.3d 1132, 1139 (11th Cir. 2014) (“When a federal

             prisoner, sentenced below the statutory maximum, complains of a sentencing error and

             does not prove either actual innocence of his crime or the vacatur of a prior conviction,

             the prisoner cannot satisfy the demanding standard that a sentencing error resulted in

             a complete miscarriage of justice.”), cert. denied, _ U.S. _, 135 S. Ct. 2836 (2015).4

             Burke v. United States, 152 F.3d 1329, 1332 (11th Cir. 1998) (holding that challenge

             based on guidelines clarifying amendment did not show a complete miscarriage of

             justice and stating that “a claim that the sentence imposed is contrary to a

             post-sentencing clarifying amendment is a non-constitutional issue that does not

             provide a basis for collateral relief in the absence of a complete miscarriage of

             justice”). Movant’s § 2255 motion must be dismissed as untimely.




                   4
                     “[A]ny miscalculation of the guideline range cannot be a complete miscarriage
             of justice because the guidelines are advisory. If the district court were to resentence
             [the movant], the district court could impose the same sentence again.” Spencer, 773
             F.3d at 1140. The court also could impose a longer sentence. Id.

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AO 72A
(Rev.8/82)
                   Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 7 of 8




             II.     Certificate of Appealability (“COA”)

                     Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

             must issue or deny a certificate of appealability when it enters a final order adverse to

             the applicant. . . . If the court issues a certificate, the court must state the specific issue

             or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

             2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

             made a substantial showing of the denial of a constitutional right.”

                     “When the district court denies a habeas petition on procedural grounds
                     without reaching the prisoner’s underlying constitutional claim,” . . . a
                     certificate of appealability should issue only when the prisoner shows
                     both “that jurists of reason would find it debatable whether the petition
                     states a valid claim of the denial of a constitutional right and that jurists
                     of reason would find it debatable whether the district court was correct in
                     its procedural ruling.”

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel, 529

             U.S. 473, 484 (2000)).

                     The undersigned recommends that a COA should be denied because

             untimeliness is not debatable. If the Court adopts this recommendation and denies a

             COA, Movant is advised that he “may not appeal the denial but may seek a certificate

             from the court of appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a),

             Rules Governing Section 2255 Proceedings for the United States District Courts.

                                                           7



AO 72A
(Rev.8/82)
                Case 1:13-cr-00280-AT-JFK Document 245 Filed 09/19/16 Page 8 of 8




             III.    Conclusion

                     For the reasons stated above,

                     IT IS RECOMMENDED that Movant’s § 2255 motion [240] be DISMISSED

             as untimely and that a COA be DENIED.

                     The Clerk is DIRECTED to withdraw the reference of the § 2255 motion to the

             Magistrate Judge.

                     IT IS SO RECOMMENDED and DIRECTED, this 19th day of September,

             2016.




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AO 72A
(Rev.8/82)
